                                                     June 9, 2019
Via ECF, EMAIL & COURIER
Hon. Fredric Block
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

                                 Re:    United States v. Mohamed Rafiq Naji
                                        Docket No. 16 Cr. 653 (FB)
Dear Judge Block:

      This letter is respectfully submitted to aid your Honor in the
sentencing of, Mohamed Rafik Naji, currently scheduled for June 14, 2019.
Mr. Naji pleaded guilty to a single count of attempting to provide material
support to a foreign terrorist organization, in violation of 18 USC §2339(a).

The Law

      The “matter of whether to grant a departure or a non-
Guidelines sentence lies within the discretion of the sentencing judge."
United States v. Sanchez, 517 F.3d 651, 661 (2d Cir. 2008); United States
v. Booker, 543 U.S. 220 (2005). “Under 18 U.S.C. § 3553(a) the court is
instructed to consider the traditional sentencing factors of retribution,
deterrence, incapacitation, and rehabilitation, as well as the ‘nature of the
offense,’ and the ‘characteristics of the defendant,’” as set forth in 18 U.S.C
§3553(a). United States v. Rivera, 281 F. Supp. 3d 269, 287 (E.D.N.Y.
2017).
History and Characteristics of the Defendant
      The PSR does a thorough job of presenting Mr. Naji’s history and
personal characteristics. Additionally, personal letters of support are
attached as Exhibit A. Of note, is his steady employment history in
delicatessens and bodegas in NYC throughout his adult life. Additionally,
the PSR confirms that he provided financially for his two households –
each of which includes a wife and children – until the time of his arrest. As
discussed below in greater detail, Mr. Naji’s solid work ethic has been
recognized at the MDC. His BOP Performance Worksheet is attached as
Exhibit B.
Nature and Circumstances of the Offense

      There can be no question as to the seriousness of the offense to
which Mr. Naji pleaded guilty – attempting to provide material support to a
designated terrorist organization. That said, Mr. Naji was born in Yemen
and remains a citizen of Yemen, and virtually all of Mr. Naji’s criminal
activity was centered around his roots in Yemen – where Saudi Arabia has
been slaughtering Yemenis for the better part of this decade. The purpose
of this submission in not to try the merits of Saudi Arabia’s war with
Yemen; however, it cannot be denied that the war in Yemen has left its
mark on many of Yemen’s most vulnerable population – its children – and
this reality had a lasting effect on Mr. Naji, who has three young children,
currently residing with their mother, in Yemen. Photographs that provide a
glimpse of the chaos that existed in Yemen during Mr. Naji’s visits to his
homeland, and continues to this day, are attached as Exhibit C.

      The government has a number of recorded conversations in which
Mr. Naji is begging his family back in the US to send him money so that he
can afford to feed and defend his family in Yemen. At the time these calls
are recorded – Mr. Naji is physically located in Yemen – which we learn
during the calls, is the home he visits annually, to spend time with his first
wife and three children. And, as he watches Saudi Arabia, with the support
of its ally, the United States, systematically destroy the way of life for his
people in Yemen – he becomes angry – and attempts to assist in any and
all efforts to protect his country, his people and his young family. Clearly,
his attempts included a poorly thought out desire to alighn himself with ISIS
– or we wouldn’t be before this Honorable Court.

      So, the real question before your Honor is – does Mr. Naji’s situation
require that he be incapacitated for 240 months – as recommended to the
Court by the PSR – and we submit that it does not. As a starting point, the
Court must recognize, that Mr. Naji is, and always has been, a sincere and
hard-working man – committed to providing for his family. He is a man
who, without the benefit of the artificial inflated sentencing guidelines, has
had no prior involvement with the criminal justice system.

Application of the Guideline Enhancements

   1. Two Level Enhancement for Offense Characteristic

       The base offense level for a violation and/or attempted violation of
18 USC §2339(a) is Level 26. Next, the PSR adds two levels pursuant to
USSG §2M5.3(b)(1)(E), where the defendant has “intent, knowledge or
reason to believe” that his support could be used to commit a violent act.
Since the underlining crime is an attempt to provide material support to a
terrorist organization – that seems to be self-evident. Indeed, it seems
unfathomable that one could commit – or attempt to commit – an act of
terrorism without contemplating the possibility of violence. Thus, the
addition of this two-level enhancement seems redundant and unnecessary.
(PSR ¶ 34)

   2. Terrorism Enhancement

      The PSR adds twelve levels to the base offense level, pursuant to
the so-called “terrorism enhancement” and increases Mr. Naji’s Criminal
History Category I to a Criminal History Category III, notwithstanding his
previous lack of a criminal record. This enhancement, too, seems
unwarranted, if not duplicative. If the underlying crime to which a defendant
enters a guilty plea is “material support of a terrorist organization” – one
must ask – how does one commit such an offense – without it being a
“felony” that is “intended to promote the federal crime of terrorism”? The
Guidelines calculation in this case, without benefit of the terrorism
enhancement is sufficiently high – especially in the case of an individual
who “attempted” to provide material support – and in fact, never actually
accomplished the goal that the statute is meant to prevent.

   3. Enhancement for Obstruction of Justice

      The notion that one who is attempting to commit a serious felony –
no matter the felony – would not seek to conceal one’s actions is counter-
intuitive – and the argument for adding additional levels of punishment for
doing what anyone would do if they were committing a serious crime – and
presumably – didn’t want to be caught – they might well tell an accomplice
to make sure he/she deleted Facebook entries regarding criminal conduct
– to do otherwise would suggest some sort of mental imbalance. But
maybe, we are now punishing people for acting normally – because that
does seem out of step with our current political milieu. (PSR ¶37)

      The PSR recommends the maximum statutory sentence available to
your Honor, and, its main justification is that Mr. Naji has escaped more
serious sentencing by the statutory cap of twenty years. It is respectfully
submitted, that perhaps the statutory maximum – raised only recently by
Congress, from fifteen years to twenty years, is meant to convey the
sentence that the Congress imagined for the worst perpetrators – not for
individuals like Mr. Naji – who talk a good game – but accomplish nothing.

An Analysis of Sentences Received by Similarly Situated Defendants

      In sentencing Mr. Naji, this Court is instructed to consider, among
other things, the need to avoid unwarranted sentencing disparities among
defendants with similar records who have been found guilty of similar
conduct. See 18 U.S.C. § 3553(a)(6). A review of the sentences that are
generally imposed in attempted material support cases across the country
demonstrates that individuals convicted of the same offense as Mr. Naji
largely receive sentences at or below 10 years.

      As a starting point, from September 2001 through July 2007, 108
defendants were charged with at least one count of violating 18 U.S.C. §
2339B.1 Thirty of those defendants proceeded to sentencing.2 The mean
sentence of these thirty defendants was either 122.73 months or 118.73



1
       See Robert Chesney, Federal Prosecution of Terrorism-Related Offenses:
Conviction and Sentencing Data in Light of the “Soft Sentence” and “Data
Reliability” Critiques, 11 Lewis and Clark L. Rev. 851, 884 (2007) (“Chesney
Analysis”), available at http://bit.ly/1R4Hf9H
2
       See Chesney Analysis at 885.
months.3 For the 23 defendants who entered guilty pleas, the mean
sentence was either 107.91 months or 102.70 months.4 For the 12
defendants who specifically pleaded guilty to conspiracy to provide
material support – the mean sentence was 82.83 months. 5 And in 2012,
the United States Sentencing Commission reported that the mean
sentence imposed between 2008 and 2012 for providing material support
to designated foreign terrorist organizations or for terrorist purposes was
111 months, a calculation that makes no distinction between defendants
who pled guilty and those who were convicted after trial.6 It is worth noting
that the statutory maximum for these cases was fifteen years; however, it
does not follow that now that the statutory maximum has been raised to
twenty years, that the sentences imposes have increased as well.

      Most recently, in 2016, the Center on National Security at Fordham
Law School released a report analyzing the first 101 ISIS-related cases to
proceed in U.S. Courts. Of the 14 defendants who had been sentenced at
the time the report was issued, the mean sentence received was 9.2
years.7 Since that report was issued, at least 29 more defendants listed in
the report have been sentenced, raising the total number sentenced to 43.

3
       See Chesney Analysis at 886, T.7.Two means are calculated because some
defendants received different sentences on two separate counts of violating
2339B. The first mean is calculated using the high sentence; the second is
calculated using the low sentence. Id.
4
       See Chesney Analysis at 886, T. 8.
5
       See Chesney Analysis at 888.
6
       See United States Sentencing Commission, Quick Facts: Offenses Involving
National Defense (2012), at p. 2, available at http://bit.ly/1HkM5xv
7
       See Case by Case: Isis Prosecutions in the United States, March 1, 2014 –
June 30, 2016, Center on National Security at Fordham Law School, available at
http://www.centeronnationalsecurity.org/research
The mean sentence of all 43 defendants is 10.5 years – one-half the
sentence recommended in the PSR.

      Finally, we conducted our own review of attempted material support
cases under 18 U.S.C. § 2339B in all circuits, as well as material support
conspiracy cases when the offense conduct was comparable to the
conduct for which Mr. Naji was convicted, namely, traveling or taking
substantial steps toward travel overseas, with a goal of joining ISIL or
another designated foreign terrorist organization. Of the 22 such cases we
identified, three involve defendants who cooperated with the government.
For this reason, we excluded their sentences from our calculations. Among
the remaining 18 defendants, the mean sentence was 133.8 months, or a
little more than 11 years, with 50% (9 out of 18) defendants receiving
sentences of 10 years or less, 5 receiving sentences between 11 and 13
years, and 4 receiving sentences of 15 years. Further, among the 4 who
received 180-month sentences – only two received the statutory maximum.
(See Table A-1; Attempted Material Support Cases, All Circuits.)

      A survey of the alleged conduct in these cases, discussed below,
demonstrates that a sentence far below the guidelines for Mr. Naji is
sufficient, but not greater than necessary to meet the goals of sentencing
under 18 U.S.C. §3553(a).

Cases Surveyed

   1. U.S. v. Mohamed Bailor Jalloh, 16 Cr. 163, Eastern District of
      Virginia, February 10, 2017. Mr. Jalloh, age 26, made several
      attempts to join ISIL; the first, in his native Sierra Leone, where he
      met with an ISIL facilitator, the second in Niger where he met with
   the same facilitator. He also provided money to a facilitator, to
   another ISIL figure plotting attacks on the U.S., participated in a plot
   to murder U.S. military personnel, and purchased an AR-15 for that
   purpose. Mr. Jalloh pled guilty to one count of attempted material
   support under 18 U.S.C. § 2339B and was sentenced by Judge Liam
   O’Grady to 132 months (11 years) in prison. He faced a maximum of
   20 years.

2. U.S. v. Joshua Van Haften, 15 Cr. 37, Western District of Wisconsin,
   February 17, 2017. Mr. Van Haften, age 36, was arrested on his way
   to Syria to join ISIS. Federal anti-terrorism agents were tracking the
   defendant for some time, before immigration officials caught him in
   Turkey in 2014. He was sent back to the U.S., where he was
   arrested at Chicago’s O’Hare Airport. Some of the evidence against
   him includes an online post swearing allegiance to ISIS, saying “the
   only thing that matters to me is joining my brothers for the war
   against America liars.” Mr. Van Haften pleaded guilty to one count of
   attempted material support under 18 U.S.C. § 2339B and was
   sentenced by Judge James D. Peterson to 120 months (10 years) in
   prison. He faced a maximum of 15 years.

3. U.S. v. Justin Kaliebe, 13 Cr. 72, Eastern District of New York,
   January 20, 2016. Mr. Kaliebe, age 18, attempted to travel from the
   United States to Yemen for the purpose of joining AQAP and waging
   violent “jihad.” The defendant was arrested on January 21, 2013 as
   he attempted to board a flight from John F. Kennedy Airport (“JFK
   Airport”) in Queens, New York to the Middle East for the purpose of
   joining AQAP. Evidence included frequent meetings with undercover
   agents in which he expressed this intent. Mr. Kaliebe pled guilty to
   two counts of attempted material support under 18 U.S.C. § 2339B
   and was sentenced by Denis R. Hurley to 156 months (13 years) in
   prison, though he faced a maximum of 30 years.

4. U.S. v. Joseph Hasan Farrokh, 16 Cr. 64, Eastern District of Virginia,
   July 15, 2016. Mr. Farrokh, age 29, conspired with co-defendant
   Mahmoud Amin El Hassan to travel to Syria to join and fight for ISIL.
   Farrokh and Elhassan had numerous communications, using secure
   apps, about their plans. Farrokh was arrested as he went down the
   jet way to catch his flight. He pled guilty to one count of attempted
   material support under 18 U.S.C. § 2339B and was sentenced by
   Judge Anthony J. Trenga to 102 months (8.5 years) in prison. He
   faced a maximum of 20 years.

5. U.S. v. Mahmoud Elhassan, 16 Cr. 64, Eastern District of Virginia,
   February 24, 2017. Mr. Elhassan, age 25, recruited co-defendant
   Joseph Farrokh to join the Islamic State and aided his efforts to
   travel to Syria and Iraq to join the terrorist organization. The
   government believed he planned to join Farrokh at a later date or to
   continue to operate as a sleeper cell supporting the cause remotely.
   Mr. Elhassan pled guilty to attempted material support under 18
   U.S.C. § 2339B and to 18 U.S.C. 1001 for making false statements
   to the FBI about his conduct and was sentenced by Judge Anthony
   J. Trenga to 132 months (11 years) in prison. He faced a maximum
   of 28 years.
6. U.S. v. Alaa Saadeh, 15 Cr. 558, District of New Jersey, May 10,
   2016. Mr. Saadeh, age 24, planned to travel overseas to join, and
   fight for, ISIL. The defendant also helped his brother successfully
   travel overseas for the same purpose, letting him purchase airline
   tickets using Saadeh’s credit card, removing the SIM card from his
   brother’s smartphone and resetting the smartphone in an effort to
   avoid detection, and giving his brother contact information for an
   individual who would facilitate his travel from Turkey to ISIL in
   Syria. Mr. Saadeh pled guilty to material support under 18 U.S.C. §
   2339B and was sentenced by Judge Susan Wigenton to 180 months
   in prison (15 years). He faced a maximum of 20 years.

7. U.S. vs. Nicholas Teausant, 14 Cr. 87, Eastern District of California,
   June 7, 2016. Mr. Teausant, age 20, was apprehended at the
   Canadian border allegedly on his way to join ISIS in Syria, after
   authorities saw posts he made on social media sites about his desire
   to conduct violent jihad. Mr. Teausant pled guilty to attempted
   material support under 18 U.S.C. § 2339B and was sentenced by
   Judge John A. Mendez to 144 months (12 years) in prison. He faced
   a maximum of 15 years.

8. U.S. v. Zacharia Yusuf Abdurahman, 15 Cr. 49, District of
   Minnesota, November 14, 2016. Mr. Abdurahman, age 19, and three
   other men (Hanad Musse, Hamza Ahmed, and Mohamed Farah)—
   took a Greyhound bus from Minneapolis to New York in November
   2014 and were stopped by federal agents as they tried to travel
   overseas from JFK Airport. Prosecutors said they were part of a
   group of friends who began inspiring and recruiting each other to join
   the Islamic State group in the spring of 2014. Some of their friends
   made it to Syria, but the nine who were prosecuted did not. Three
   went to trial and were convicted of a conspiracy to commit murder
   outside of the United States in addition to material support, receiving
   lengthier sentences. Mr. Abdurahman and three others did not
   cooperate, pleading guilty to conspiring to provide material support
   under 18 U.S.C. § 2339B. Mr. Abdurahman and two others (Hanad
   Musse, age 19 and Adnan Farah, age 19) were sentenced by Judge
   Michael J. Davis to 120 months (10 years) in prison. All three faced
   maximums of 15 years. The fourth, Hamza Naj Ahmed, age 21, was
   charged with an additional count of financial aid, and was sentenced
   to 180 months (15 years) in prison. Mr. Ahmed faced a maximum of
   20 years.

9. U.S. v. Jaelyn Young, 15 Cr. 98, Northern District of Mississippi,
   August 12, 2016. Jaelyn Young, age 19, an American from
   Vicksburg, Mississippi, attempted to move to Syria with her fiancé
   Mohammad Dakhlalla, age 22, to join ISIS to work as a medic. Ms.
   Young and Mr. Dakhlalla engaged in numerous conversations on
   social media sites with FBI agents disguised as ISIS recruiters. They
   were apprehended on their way to the airport, and pled guilty to
   conspiring to provide material support under 18 U.S.C. § 2339B. Ms.
   Young who admitted to being the mastermind of the plan, was
   sentenced by Judge Sharion Aycock to 144 months (12 years) in
   prison. Mr. Dakhlalla was sentenced to 96 months (8 years). Both
   faced maximums of 15 years.
10.     U.S. v. Adam Dandach, 14 Cr. 109, Central District of
  California, July 25, 2016. Mr. Dandach, age 22, was initially charged
  with falsely claiming he lost his passport, and later indicted for
  attempting to travel to Syria to support terrorists. Mr. Dandach
  communicated with two people in Syria, and made two attempts to
  travel and join ISIL; the first time, a family member took his passport
  and money so he couldn't go; the second time, he obtained a
  duplicate expedited passport. Mr. Dandach also engaged in post-
  arrest obstruction - seeking his family's help in deleting internet
  postings. And while detained, he composed several pro-terror
  writings. He pled guilty to attempted material support under 18
  U.S.C. § 2339B and making a false statement on a passport
  application under 18 U.S.C. § 1542, and was sentenced by Judge
  James V. Selna to 180 months (15 years) in prison. Mr. Dandach
  faced a maximum of 25 years.

11.     U.S. v. Rahatul Khan, 14 Cr. 212, Western District of Texas,
  September 25, 2015. Between March 2011 and January 2012, Mr.
  Khan, age 24, identified an individual in an Internet chatroom and
  began assessing that individual for overseas violent jihadist travel.
  That individual was actually an FBI confidential source. After Khan
  screened the confidential source, he made arrangements to insert
  him into an al-Shabaab pipeline. Khan also led a group of individuals
  in the Austin area who pledged loyalty to the now-deceased Taliban
  and terrorist leader, Mullah Omar. Michael Wolfe, whose case is
  discussed below, was a part of Khan’s group. Mr. Khan pled guilty to
  attempted material support under 18 U.S.C. § 2339B and was
  sentenced by Judge Sam Sparks to 120 months (10 years) in prison.
  He faced a maximum of 15 years.

12.     U.S. v. Michael Wolfe, 14. Cr. 213, Western District of Texas,
  June 5, 2015. Mr. Wolfe, age 23 attempted to travel to the Middle
  East to lend his support to ISIL. He admitted at his change of plea
  hearing that in preparation, he applied for and acquired a U.S.
  passport, participated in physical fitness training, practiced military
  maneuvers, concealed his preparations, and bough an airline ticket
  for travel to Europe, which he believed would be the first leg of a trip
  to the Middle East. Instead, he was arrested on the jet way at the
  Houston, Texas airport as he attempted to board a flight to Toronto,
  Canada. Mr. Wolfe was part of a group led by Mr. Khan (see above)
  that pledged loyalty to a deceased Taliban leader. He pled guilty to
  attempted material support under 18 U.S.C. § 2339B and was
  sentenced by Judge Sam Sparks to 82 months (6 years, 10 months)
  in prison. He faced a maximum of 15 years.

13.     U.S. v. Leon Nathan Davis, 15 Cr. 59, Southern District of
  Georgia, July 28, 2015. Mr. Davis, age 37, was arrested at the
  Hartsfield-Jackson Atlanta International Airport as he attempted to
  board a flight to Turkey. The defendant had been under investigation
  for more than a year before he was arrested, after communicating
  with ISIL members via social media. At the time of his arrest, Mr.
  Davis was on parole for cocaine trafficking. Mr. Davis was initially
  charged with possession of illegal firearms by a convicted felon, and
  reportedly had six rifles, four handguns, and two shotguns, but that
  charge was later dropped. He pled guilty to attempted material
        support under 18 U.S.C. § 2339B and was sentenced by Judge J.
        Randall Hall to 180 months (15 years), the maximum.

        Like Mr. Naji, the vast majority of these defendants likely faced
Guidelines ranges of 360-life, absent statutory maximums that cap a
defendant’s exposure. Notably, however, the vast majority received
sentences that were significantly lower than the statutory maximum. This
pattern suggests that these cases, as a group, fall well outside the
heartland of cases to which the Terrorism Enhancement was intended to
apply. Or perhaps it suggests something else; namely, that no such
heartland exists, and the Sentencing Commission’s wholesale failure to
develop this Guideline based upon empirical data, national experience, or
some rational policy basis, has rendered it essentially meaningless.

        At 40, Mr. Naji is older than the defendants whose cases are
analyzed above. Like Mr. Naji, the above defendants were sentenced after
guilty pleas. At 40, he poses an ever-decreasing risk of recidivism. A look
beneath the surface demonstrates that a sentence below the 10-12 year
range received by the majority of the defendants above is appropriate
here.

        First, Mr. Naji, at age 40, had no criminal record, and spent decades
in meaningful, productive, law-abiding work. The absence of a criminal
record at age 40 is more significant than it is at age 19 or 20, because it
demonstrates the complete aberrance of the offense for which Mr. Naji in
the context of the rest of a long and productive life.

        More egregious, is the imposition of a Criminal History Category of
VI – notwithstanding that Mr. Naji has no criminal history points (PSR ¶¶
45)

Support for Mohamed Naji

      Attached to this submission, as Exhibit A, are two letters of support.

      In a letter from Mr. Naji’s sister-in-law Zakhia Ali, Ms. Ali writes that,
“Mohamed has inspired me to become a strong, independent, honest,
hard-working woman.” She continues, “He has guided me to try my best to
stay on the right path in life, to avoid drugs, drinking, sex, stealing.” Ms. Ali
posits that life is full of its mysteries – but of one thing she is certain – that
after three years at the MDC, where Mr. Naji has truly experienced a loss
of his freedom – from the freedom to move freely, to the freedom to choose
his food, or his clothing – that he will do everything in his power to never
put himself in harm’s way again. Ms. Ali wisely observes that “We,
humans, are all a work in progress, with time and experience we become
wiser and better versions of ourselves…” She writes that she believes that
Mr. Naji is making strides to improve himself – so that he will never find
himself in this sort of compromised position again.

      A second letter from another of Mr. Naji’s sisters-in-law, Zeba Ali,
describes Mr. Naji as, “genuine, honest, calm and a sincere person, one of
true character,” and reports that he is deeply remorsefully for the choices
he made in connection with his current dilemma. Importantly, Ms. Zeba Ali
comments that Mr. Naji is deeply remorseful for his actions and with the
support of his family, he intends to be able to put this difficult chapter
behind him and move forward with a renewed sense of family and pride.

Work Performance Review
      Additionally, attached to this submission as Exhibit B, is a BOP
“Work Performance Rating” sheet. Since he has been incarcerated at the
MDC, Mr. Naji has had no disciplinary actions taken against him and he
has worked steadily. In his performance review, his BOP supervisor writes,
“Inmate does a full days works and Goes (sic) above and beyond his
assigned job description. Mohamed also gives input on how to do things
better, safer and more efficiently. He drives himself exceptionally well.
Inmate Naji...is always willing to take on additional duties. Mohamed works
well with staff and other inmates.” Additionally, Mr. Naji is rated
“Outstanding” in every aspect of his work – including: (A) quality of work;
(B) quantity of work; (C) initiative; (D) interest and eagerness to learn; (E)
ability to learn; (F) requires no supervision – “completely dependable in all
things”; (G) makes great effort to please his instructor – does exactly what
he is told; (H) gets along with everyone; (I) has earned a promotion to a job
with more responsibility and greater pay. His performance review is
annexed as Exhibit B.

The War In Yemen

      It is not the purpose of this sentencing submission – or this
paragraph – to justify or excuse Mr. Naji’s conduct in connection with his
attempt to provide material support to a terrorist organization. Instead,
Exhibit C, which contains photographs from the streets of Yemen, are
including in this submission as a means of providing the Court with context
for Mr. Naji’s state of mind – as he attempted to provide some modicum of
protection for his wife and three young children.

Appropriate Sentence
       It is respectfully submitted that the price of Mr. Naji’s criminal
conduct has been exacted by the loss of his liberty, his home, his family
and the freedoms available here in the United States that will not be
available to him when he is returned to Yemen. Three years at the MDC is
an extremely high price to pay for a man who has voluntarily admitted that
he attempted to offer material support to a terrorist organization, given that
upon the completion of his sentence – whatever this court may decide – at
the end of the day – Mr. Naji will likely be sent back to the war-torn country
of his birth.

       For all of the reasons articulated above, we respectfully request that
your Honor reject the Probation Department’s recommendation of a twenty-
year sentence – a sentence that fails to reflect his acceptance of
responsibility, the responsible life he lived prior to his involvement in the
instant offense, the diminished possibility of him ever putting himself or his
family in harm’s way again – and the very real possibility that he will be
sent back to Yemen – where war, death and famine are a daily occurrence
– and impose a sentence substantially below the maximum sentence
permitted by law – a sentence that should be reserved for the worst
offenders – and there are far worse offenders than Mr. Mohamed Naji.

                                         Respectfully submitted,

                                               /s/


                                         Susan G. Kellman
                                         Gary Villanueva

cc:    All Counsel via ECF and email
USPO Ross Kapitansky
Mohamed Rafik Naji
